      Case 20-24404       Doc 13     Filed 09/02/20     Entered 09/02/20 07:53:18       Desc      Page 1
                                                      of 2




  Lon A. Jenkins (4060)
  Tami Gadd (12517)
  MaryAnn Bride (13146)
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                              UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  IN RE:                                                CASE NO: 20-24404
  CHRISTOPHER PROCTOR
                                                        Chapter 13

                        Debtor                          Hon. JOEL T. MARKER


                                    TRUSTEE'S MOTION TO DISMISS

         The Standing Chapter 13 Trustee in this case, recommends that the above referenced case be
  dismissed for the Debtors' failure to comply with the following statutory requirements, Federal Rule of
  Bankruptcy Procedure, and/or Local Rules:




         1. The Debtor failed to tender the initial plan payment at the 341 Meeting as required by § 1326(a)(1)
  and Local Rule 2083-1(a).



                THEREFORE, based on the foregoing, the Trustee moves the Court for the entry of an Order

dismissing this case under 11 U.S.C. § 1307. If an objection is not filed by September 28, 2020 and served
        Case 20-24404           Doc 13   Filed 09/02/20      Entered 09/02/20 07:53:18           Desc      Page 2
                                                           of 2




upon the Trustee, the clerk must enter an order dismissing the case. Unless the Court orders otherwise, any

objection to the Trustee’s Motion to Dismiss will be heard at the confirmation hearing. No additional notice is

required for such hearing.
Dated: 9/2/2020                                                     LAJ /S/
                                                                    LON A. JENKINS
                                                                    CHAPTER 13 TRUSTEE


                                           CERTIFICATE OF MAILING

       The undersigned hereby certifies that true and correct copy of the foregoing Trustee's Motion to Dismiss
   was served upon all persons entitled to receive notice in this case via ECF Notification or by U.S. Mail to the
   following parties on September 02, 2020:

     CHRISTOPHER PROCTOR, 420 WEST 200 SOUTH, TOOELE, UT 84074



     JUSTIN O. BURTON, ECF Notification

                                                          /s/ Helen Doherty




  Trustee's Motion to Dismiss
  Case No. 20-24404
  Page Number 2
